Case 0:21-cr-60285-WPD Document 10 Entered on FLSD Docket 10/01/2021 Page 1 ofKS
                                                                               4


                                                                                      Sep 30, 2021
                            UNITED STATES DISTRICT COIJRT
                            SOUTHERN DISTRICT OF FLORIDA
              21-60285-CR-DIMITROULEAS/SNOW
                             CA SE N O .
                                          21U.S.C.j846
                                        21U.S.C.j841(a)(1)
 UM TED STA TES O F A M ER ICA

 VS.


 JAYSON GUTIERREZ,

         D efendant.
                                     /

                                         IN DICTM ENT

         The Grand July charges that:

         On oraboutJanuary 28,2021,in Brow ard Cotm ty,in the Southern D istrictofFlorida,and

 elsewhere,the defendant,

                                   JAY SO N G U TIER R EZ,

 did lcnowingly and willfully combine,conspire,confederate,and agree with personskllown and

  unknown to the GrandJury,to possesswith intentto distributeacontrolled substance,in violation

  ofTitle21,United StatesCode,Section841(a)(1);al1inviolation ofTitle21,United StatesCode,
  Section 846.

         W ith respectto the defendant,JAYSON GUTIERREZ,the amotmt involved in the

  conspiracyattributabletohim asarlsultofhisownconduct,alldtheconductofotherconspirators
 reasonably foreseeabletolzim,isfifty (50)grnmsormoreofmethnmphetamine,itssalts,isomers
  andsaltsofitsisomers.inviolationofTitle21,UnitedStatesCode,Section 841(b)(1)(A)(viii).
    Case 0:21-cr-60285-WPD Document 10 Entered on FLSD Docket 10/01/2021 Page 2 of 4




                                              C O UN T 2

             On oraboutJarlualy 28,2021,irlBrowazd Cotmty,in theSouthenzDistrictofFlorida,the

      defendant,

                                       JA Y SO N GU TIERR EZ,

      didknowingly andintentionallypossesswithintenttodistributeacontrolledsubstance,in violation

      ofTitle21,UnitedStatesCode,Section 841(a)(1)andTitle18,United StatesCode,Section2.
             Plzrsuantto Title21,Urlited StatesCode,Section 841(b)(1)(A)(viii),itisfurtheralleged
      thatthisviolation involved GE
                                  R)T(50)grnmsormoreofmethamphetamine,itssalts,isomersand
      salts ofits isom ers.

                                                      A TRU E BILL




                                                      FOREPERSON



      z-
       /-
      JUAN AN T N IO GON ZALEZ
      A CTIN G UN ITED STA TES A TTORN EY

%      .

              )
             y)
              '#Y        .    ,
        ON M D F.CH A SE,11
      A SSISTAN T UN ITED STA TES A TTO RN EY
                              IJM TED 10
     Case 0:21-cr-60285-WPD Document  STATES DISTRI
                                          Entered  CTFLSD
                                                  on  COURT
                                                          Docket 10/01/2021 Page 3 of 4
                              SOUTIIERN DISTRICT OF FLOD A

IJNITED STATES OF AM ERICA                            CASE NO.

                                                      CERTIFICATE O F TRIA L A TTORNEY*
 JAYSO N G UTIERREZ,
                                                      Superseding Caselnform ation:
                                  Defendant/.
    CourtDivksion:(SelectOne)                         Newdefendantts) I
                                                                      --IYes FRNO
   N Minmi I--1KeyWest I-/-FTL                        Nllmberofnewdefendants              - -
   F-lwpé I--IFTP                                     Totalnumberofcounts
        1.lhave carefully consideredthe allegationsofthe indictment,thenum berofdefendants,the num ber ofprobable
          w itnessesand thelegalcomplexitiesofthelndictm ent/lnform ation atlachedhereto.
        2.1nm awarethatthe inform ation supplied on thisstatem entwillbe relied upon by the JudgesofthisCourtin
          settingtheircalendarsand scheduling crim inaltrialsunderthem andateoftheSpeedy TrialAct,
          Title28 U .S.C.Section 3161.
        3.Interpreter:@ esorNo) No
          Listlanguageand/ordialect
        4. Thiscasew illtake 4 daysforthepartiesto tl'   y.
        5.Pleasecheck appropriatecategory and typeofoffense listedbelow:
              (Checkonlyone)                            (Checkonlyone)
          I      0to5days                IId             Petty                      (71
          11     6to10days                               Minor                      rql
          III    11to20days                              M isdemeanor              'EEI
          IV     21to60days                              Felony                     El
                                                                                     e
          V      61daysand over
        6.Hasthiscasepreviously been filedinthisDistrictCourt?(YesorNo)
           lfyes:Judge                                CaseN o.
           (Attach copy ofdispositiveorder)
              Hasacomplaintbeenfiledinthismatter?(YesorNo)Yes
           Ifyes:M agistrateCase No. 21-6526-STRAUSS
              Related m iscellaneousnum bers:
           Defendafltts)hafederalcustodyasof09/17/2021
           Defendantts)instatecustodyasof
           Rule20 from the Districtof
           Isthisapotentialcleathpenaltycase?(YesorNo)No '
        7. D oesthiscase originatefrom am atlerpending in theCentralRegion oftheU.S.Atlorney'sOffice priorto
           August9,2013(M ag.JudgeAlicia0.Valle)?(YesorNo)No
        8. D oesthiscase originate from am atterpending in theN orthern Region oftheU .S.Attorney'sOffice priorto
           August8,2014(M ag.JudgeShaniekM aynard?(YesorNo)N0
        9. D oesthiscase originate from am atterpending intheCentralRegion oftheU .S.Atlorney'sOffice priorto
              October3,2019(M ag.JudgeJared Strauss)?(YesorNo)N0


                                                                      l*
                                                                       ,   -   1-
                                                                               .
                                                                                          w   .-'/
                                                                      O NALD F.CHASE,11
                                                                     AssistantUnited States Attorney
                                                                     CourtID No.      A5500077
*penalt'
       ySheetts)attached                                                                                REV 3/19/21
Case 0:21-cr-60285-WPD Document 10 Entered on FLSD Docket 10/01/2021 Page 4 of 4




                           UM TE D STA TES D ISTR ICT CO IJR T
                           SO U TH ER N D ISTR ICT O F FLO R ID A

                                     PENALTY SH EET

  D efendant'sN am e: JA Y SON G UTIERREZ

  Case N o:

  C ount 1

  Conspiracy to Possesswith Intentto DistdbuteM ethamphetnm ine

  21U.S.C.jj 841(a)(1),846and841(b)(1)(A)(viii)
  *M ax.Penalty:LifeJmprisonment(10yearsmandatoryml
                                                  'nl
                                                    'n3llnnl,
                                                            'atleast5yearsofsupervised
  releaseup to life;$10,000,000fme;and $100 specialassessment.

  Cotm t2

  Possessionw1111IntqnttoDistributeM ethamphetamkç - -

  21U.S.C.jj841(a)(1)and841(b)(1)(A)(viii)

  *M ax.Penalty:LifeImprisonment(10yeazsmandatozy ml
                                                   'nl
                                                     'mllml;atleast5yearsofsupervised
  releaseup to life;$10,000,000fm e;and $100specialassessm ent.
  WR efers only to possible term ofincarceration,doesnotincludepossible fimes,restitution,
            specialassessm ents,parole term s,or forfeitures that m ay be applicable.
